         Case 1:21-cr-00444-JEB Document 28 Filed 09/13/21 Page 1 of 13




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   :
                                           :      CASE NO. 21-CR-444 (JEB)
              v.                           :
                                           :
BRIAN MOCK,                                :
                                           :
                     Defendant.            :


                                   NOTICE OF FILING
      The government requests that the attached discovery letter, dated September 13, 2021, be
made part of the record in this case.


                                                  Respectfully submitted,


                                                  CHANNING D. PHILLIPS
                                                  Acting United States Attorney
                                                  D.C. Bar No. 415793


                                           By:    s/Amanda Jawad
                                                  Amanda Jawad
                                                  Assistant United States Attorney, Detailee
                                                  NY Bar Number 5141155
                                                  United States Attorney’s Office
                                                  211 W. Fort Street
                                                  Detroit, MI 48226
                                                  Amanda.Jawad@usdoj.gov
          Case 1:21-cr-00444-JEB Document 28 Filed 09/13/21 Page 2 of 13




                                                      U.S. Department of Justice

                                                      Channing D. Phillips
                                                      Acting United States Attorney

                                                      District of Columbia


                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530


                                                    September 13, 2021

Keala Ede
Assistant Federal Defender
107 U.S. Courthouse
300 South Fourth Street
Minneapolis, MN 55414
keala_ede@fd.org
VIA Email

         Re:    United States v. Brian Mock
                Case No. 21-CR-444 (JEB)

Dear Counsel:

       On July 26, 2021, August 12, 2021, August 19, 2021, and August 20, 2021, we provided
you with discovery materials in this case through USAFx. The following is a summary of the
materials provided.

         The materials provided on August 12 and 20 include:

 Title                                         File Name                       Sensitivity
                                                                               Designation
 (U) On Facebook, [REDACTED], bragged          089B-WF-3368293-
 about storming the capital. She has photos    298_AFO_0000002.pdf
 and
 (U)                                           089B-WF-3368293-
 1261523219438911488_IMG_30131.jpg.jp          298_AFO_0000002_1A000264
 eg                                            4_0000001.jpeg
 (U) On 01/11/2021, at 6:50:17 PM Eastern      089B-WF-3368293-
 Time, an anonymous tipstser, Internet         298_AFO_0000004.pdf
 Protocol…
        Case 1:21-cr-00444-JEB Document 28 Filed 09/13/21 Page 3 of 13




(U) Subfile Opening Document for BOLO      089B-WF-3368293-
UNSUB 298-AFO                              298_AFO_0000001.pdf
(U) Facebook preservation request          089B-WF-3368293-
submitted for Brian Mock &                 298_AFO_0000006.pdf
[REDACTED]
(U) Facebook_preservation_request.pdf 089B-WF-3368293-
                                      298_AFO_0000006_1A000000
                                      1_0000001.pdf
(U) Facebook_preservation_request_-   089B-WF-3368293-
[REDACTED].pdf                        298_AFO_0000006_1A000000
                                      2_0000001.pdf
(U) Mock Facebook account             089B-WF-3368293-
subpoena/results                      298_AFO_0000007.pdf
(U) 3630957107026764-                 089B-WF-3368293-
Mock_FB_PDF.pdf                       298_AFO_0000007_1A000000
                                      4_0000001.pdf
(U)                                   089B-WF-3368293-
Facebook_GJ2021050376373_SA_Alvarez 298_AFO_0000007_1A000000
.pdf                                  3_0000001.pdf
(U) 951752595592703_affidavit_-       089B-WF-3368293-
_Mock_certificate_of_authenticity.pdf 298_AFO_0000007_1A000000
                                      6_0000001.pdf
(U) 21sc99_Omnibus_NDO_2.26.pdf
U//FOUO NTOC2021 Possible             089B-WF-3368293-                Sensitive
Identification of An Individual in    298_AFO_0000010.pdf
Photograph #298 A-G Involved with an
Assault on

(U) Request the assistance of FBI          089B-WF-3368293-
Minneapolis                                298_AFO_0000014.pdf
U//FOUO NTOC2021 E-Tip: Possible           089B-WF-3368293-
Identification of An Individual Involved   298_AFO_0000015.pdf
with an Assault on a Federal Officer

U//FOUO                                    089B-WF-3368293-
Brian_Mock_Photo_734772_WF_1620046         298_AFO_0000015_1A000001
327272.jpg                                 2_0000002.jpg
U                                          089B-WF-3368293-
Brian_Mock_6_Jan_sight_seeing_734772_      298_AFO_0000015_1A000001
WF_1620046660378.jpg                       2_0000003.jpg



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        Case 1:21-cr-00444-JEB Document 28 Filed 09/13/21 Page 4 of 13




U//FOUO                                    089B-WF-3368293-
Mock_MN_DL_Photo_734772_WF_1620            298_AFO_0000015_1A000001
333708821.png                              2_0000005.png
U                                          089B-WF-3368293-
Facebook_Brian_Mock_734772_WF_1619         298_AFO_0000015_1A000001
876866744.png                              2_0000006.png
U NTOC2021 E-Tip: Possible                 089B-WF-3368293-           Sensitive
Identification of An Individual Involved   298_AFO_0000017.pdf
with an Assault on a Federal Offic

(U) Request the assistance of FBI          089B-WF-3368293-
Minneapolis                                298_AFO_0000018.pdf
(U) NCIC_Records_-_Brian_Mock.docx         089B-WF-3368293-
                                           298_AFO_0000018_1A000001
                                           5_0000001.docx
(U) [REDACTED] FB photo.png                089B-WF-3368293-
                                           298_AFO_0000018_1A000001
                                           7_0000001.png
(U) Identification of US Capitol Police    089B-WF-3368293-
Victim Officer [REDACTED]                  298_AFO_0000020.pdf

(U) Two additional Facebook posts by       089B-WF-3368293-
Brian Mock                                 298_AFO_0000021.pdf
(U) Mock_Facebook_Post_-_2.JPG             089B-WF-3368293-
                                           298_AFO_0000021_1A000002
                                           1_0000001.JPG
(U) Mock_Facebook_Post_-_1.JPG             089B-WF-3368293-
                                           298_AFO_0000021_1A000002
                                           1_0000002.JPG
(U//FOUO) Research and Identification of   089B-WF-3368293-
BOLO AFO-298 as Minnesota Resident         298_AFO_0000023.pdf
Brian Christopher Mock.

(U//FOUO) MN_DL_-_Brian_Mock.pdf           089B-WF-3368293-
                                           298_AFO_0000023_1A000000
                                           2_0000002.pdf
(U//FOUO) NCIC_Records_-                   089B-WF-3368293-
_Brian_Mock.docx                           298_AFO_0000023_1A000000
                                           2_0000004.docx




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        Case 1:21-cr-00444-JEB Document 28 Filed 09/13/21 Page 5 of 13




(U) U.S. Capitol Police Officer         089B-WF-3368293-           Sensitive
[REDACTED]                              298_AFO_0000025.pdf



(U) Mock employment information         089B-WF-3368293-
                                        298_AFO_0000026.pdf
(U) Accurint_MOCK.pdf                   089B-WF-3368293-
                                        298_AFO_0000026_1A000002
                                        5_0000001.pdf
(U//FOUO) Tips Related to Brian Mock.   089B-WF-3368293-
                                        298_AFO_0000029.pdf

(U) 089B-WF-3368293-                    089B-WF-3368293-
298_AFO_0000029_1A0000029_0000001       298_AFO_0000029_1A000002
_PHYSICAL.pdf                           9_0000001_PHYSICAL.pdf
(U//FOUO) Ties_Report_- Tip 5.pdf       089B-WF-3368293-           Sensitive
                                        298_AFO_0000029_1A000002
                                        9_0000002.pdf
(U//FOUO) Attachment 3 - Tip 2.JPG      089B-WF-3368293-
                                        298_AFO_0000029_1A000002
                                        9_0000003.JPG
(U//FOUO) Attachment 4 - Tip 2.JPG      089B-WF-3368293-
                                        298_AFO_0000029_1A000002
                                        9_0000004.JPG
(U//FOUO) Video - Tip 2.mov             089B-WF-3368293-
                                        298_AFO_0000029_1A000002
                                        9_0000005.mov
(U//FOUO) Ties_Report_- Tip 6.pdf       089B-WF-3368293-           Sensitive
                                        298_AFO_0000029_1A000002
                                        9_0000006.pdf
(U//FOUO) Ties_Report_- Tip 1.pdf       089B-WF-3368293-           Sensitive
                                        298_AFO_0000029_1A000002
                                        9_0000007.pdf
(U//FOUO) Attachment 5 - Tip 2.JPG      089B-WF-3368293-
                                        298_AFO_0000029_1A000002
                                        9_0000008.JPG
(U//FOUO) Attachment 6 - Tip 2.JPG      089B-WF-3368293-
                                        298_AFO_0000029_1A000002
                                        9_0000009.JPG
(U//FOUO) Attachment 2 - Tip 2.JPG      089B-WF-3368293-
                                        298_AFO_0000029_1A000002
                                        9_0000010.JPG

                                        4
       Case 1:21-cr-00444-JEB Document 28 Filed 09/13/21 Page 6 of 13




(U//FOUO) Ties_Report_- Tip 3.pdf       089B-WF-3368293-           Sensitive
                                        298_AFO_0000029_1A000002
                                        9_0000012.pdf
(U//FOUO) Attachment 1 - Tip 2.JPG      089B-WF-3368293-
                                        298_AFO_0000029_1A000002
                                        9_0000013.JPG
(U) Mock & [REDACTED] Facebook          089B-WF-3368293-
search warrant packages                 298_AFO_0000030.pdf
(U) signed-                             089B-WF-3368293-
21sc1629_Motion_to_Seal_ECF_No._2.pd    298_AFO_0000030_1A000003
f                                       1_0000001.pdf
(U) signed-                             089B-WF-3368293-
21sc1629_Search_Warrant_ECF_No._1.pd    298_AFO_0000030_1A000003
f                                       1_0000002.pdf
(U) signed-                             089B-WF-3368293-
21sc1633_Motion_to_Seal_ECF_No._2.pd    298_AFO_0000030_1A000003
f                                       2_0000002.pdf
(U) Execution of 2 Facebook search      089B-WF-3368293-
warrants                                298_AFO_0000031.pdf
(U) Email_confirming_Mock_FB_SW.pdf     089B-WF-3368293-
                                        298_AFO_0000031_1A000003
                                        3_0000002.pdf
(U)                                     089B-WF-3368293-
Email_confirming_SW_received_[REDAC     298_AFO_0000031_1A000003
TED].pdf                                4_0000003.pdf
(U//FOUO) MOCK Employment               089B-WF-3368293-
Confirmed.                              298_AFO_0000035.pdf
(U//FOUO) Accurint_MOCK.pdf             089B-WF-3368293-
                                        298_AFO_0000035_1A000003
                                        7_0000001.pdf
(U) Identification of Mock girlfriend   089B-WF-3368293-
[REDACTED]                              298_AFO_0000037.pdf
U//FOUO NTOC2021 E-Tip: Potential       089B-WF-3368293-
Information Regarding an Individual     298_AFO_0000038.pdf
Involved with an Assault on a Federal

U//FOUO                                 089B-WF-3368293-
298_Guardian_742139_WF_16225545568      298_AFO_0000038_1A000004
14.jpg                                  0_0000003.jpg
(U) MP SOG Surveillance Re Brian C.     089B-WF-3368293-
Mock                                    298_AFO_0000039.pdf

                                        5
        Case 1:21-cr-00444-JEB Document 28 Filed 09/13/21 Page 7 of 13




(U) log 5-17-2021105710.pdf                089B-WF-3368293-
                                           298_AFO_0000039_1A000004
                                           1_0000001.pdf
(U) Request entry of arrest warrant into   089B-WF-3368293-
NCIC                                       298_AFO_0000040.pdf
(U) SIGNED_21-mj-                          089B-WF-3368293-
469_Arrest_Warrant.pdf                     298_AFO_0000040_1A000004
                                           2_0000001.pdf
(U) Mock - arrest warrant, complaint,      089B-WF-3368293-
sealing order                              298_AFO_0000042.pdf
(U) SIGNED_21-mj-                          089B-WF-3368293-
469_2ND_REVISED_Statement_of_Fact_         298_AFO_0000042_1A000004
s.pdf                                      6_0000001.pdf
(U) SIGNED_21-mj-                          089B-WF-3368293-
469_Arrest_Warrant.pdf                     298_AFO_0000042_1A000004
                                           3_0000001.pdf
(U) SIGNED_21-mj-                          089B-WF-3368293-
469_Criminal_Complaint.pdf                 298_AFO_0000042_1A000004
                                           5_0000001.pdf
(U) SIGNED_21-mj-                          089B-WF-3368293-
469_Criminal_Complaint_Unredacted.pdf      298_AFO_0000042_1A000004
                                           4_0000001.pdf
(U) SIGNED_21-mj-                          089B-WF-3368293-
469_Sealing_Order.pdf                      298_AFO_0000042_1A000004
                                           7_0000001.pdf
(U) Interview of [REDACTED]                089B-WF-3368293-           Sensitive
                                           298_AFO_0000043.pdf

(U//FOUO) Transportation of Brian          089B-WF-3368293-
Christopher MOCK                           298_AFO_0000044.pdf

(U//FOUO) TRANSPO Notes.pdf                089B-WF-3368293-
                                           298_AFO_0000044_1A000004
                                           9_0000001.pdf
(U) Interview of [REDACTED]                089B-WF-3368293-           Sensitive
                                           298_AFO_0000045.pdf




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       Case 1:21-cr-00444-JEB Document 28 Filed 09/13/21 Page 8 of 13




(U) Interview of [REDACTED]             089B-WF-3368293-           Sensitive
                                        298_AFO_0000046.pdf
(U) Interview of [REDACTED]             089B-WF-3368293-           Sensitive
                                        298_AFO_0000047.pdf
(U) Search warrant for Mock residence   089B-WF-3368293-
                                        298_AFO_0000048.pdf
(U) 21mj437seal_-_appsw_0611.pdf        089B-WF-3368293-
                                        298_AFO_0000048_1A000005
                                        3_0000001.pdf
(U) 21mj437seal_-_pet_0611.pdf          089B-WF-3368293-
                                        298_AFO_0000048_1A000005
                                        3_0000002.pdf
(U) 21mj437seal_-_petord_0611.pdf       089B-WF-3368293-
                                        298_AFO_0000048_1A000005
                                        3_0000004.pdf
(U) Search of [REDACTED]                089B-WF-3368293-
                                        298_AFO_0000050.pdf
(U//FOUO)                               089B-WF-3368293-
PXL_20210611_125247292.jpg              298_AFO_0000050_1A000005
                                        4_0000001.jpg
(U//FOUO)                               089B-WF-3368293-
PXL_20210611_122646860.jpg              298_AFO_0000050_1A000005
                                        4_0000002.jpg
(U//FOUO)                               089B-WF-3368293-
PXL_20210611_121255249.jpg              298_AFO_0000050_1A000005
                                        4_0000003.jpg
(U//FOUO)                               089B-WF-3368293-
PXL_20210611_130217610.MP.jpg           298_AFO_0000050_1A000005
                                        4_0000004.jpg
(U//FOUO)                               089B-WF-3368293-
PXL_20210611_131000907.jpg              298_AFO_0000050_1A000005
                                        4_0000005.jpg
(U//FOUO)                               089B-WF-3368293-
PXL_20210611_130813980.jpg              298_AFO_0000050_1A000005
                                        4_0000006.jpg
(U//FOUO)                               089B-WF-3368293-
PXL_20210611_131011187.jpg              298_AFO_0000050_1A000005
                                        4_0000007.jpg
(U//FOUO)                               089B-WF-3368293-
PXL_20210611_121402778.jpg              298_AFO_0000050_1A000005
                                        4_0000008.jpg
(U//FOUO)                               089B-WF-3368293-
PXL_20210611_121341493.MP.jpg           298_AFO_0000050_1A000005
                                        4_0000009.jpg
                                         7
      Case 1:21-cr-00444-JEB Document 28 Filed 09/13/21 Page 9 of 13




(U//FOUO)                          089B-WF-3368293-
PXL_20210611_121429266.jpg         298_AFO_0000050_1A000005
                                   4_0000010.jpg
(U//FOUO)                          089B-WF-3368293-
PXL_20210611_121641575.jpg         298_AFO_0000050_1A000005
                                   4_0000011.jpg
(U//FOUO)                          089B-WF-3368293-
PXL_20210611_122419576.MP.jpg      298_AFO_0000050_1A000005
                                   4_0000012.jpg
(U//FOUO)                          089B-WF-3368293-
PXL_20210611_130933634.jpg         298_AFO_0000050_1A000005
                                   4_0000013.jpg
(U//FOUO)                          089B-WF-3368293-
PXL_20210611_121559894.jpg         298_AFO_0000050_1A000005
                                   4_0000014.jpg
(U//FOUO)                          089B-WF-3368293-
PXL_20210611_122540443.MP.jpg      298_AFO_0000050_1A000005
                                   4_0000015.jpg
(U//FOUO)                          089B-WF-3368293-
PXL_20210611_131023460.jpg         298_AFO_0000050_1A000005
                                   4_0000016.jpg
(U//FOUO) MOCK SW 163637.pdf       089B-WF-3368293-
                                   298_AFO_0000050_1A000005
                                   4_0000017.pdf
(U//FOUO)                          089B-WF-3368293-
PXL_20210611_121439046.jpg         298_AFO_0000050_1A000005
                                   4_0000018.jpg
(U//FOUO)                          089B-WF-3368293-
PXL_20210611_123905797.jpg         298_AFO_0000050_1A000005
                                   4_0000019.jpg
(U//FOUO)                          089B-WF-3368293-
PXL_20210611_121500817.jpg         298_AFO_0000050_1A000005
                                   4_0000020.jpg
(U//FOUO)                          089B-WF-3368293-
PXL_20210611_122529008.jpg         298_AFO_0000050_1A000005
                                   4_0000021.jpg
(U//FOUO)                          089B-WF-3368293-
PXL_20210611_130920912.jpg         298_AFO_0000050_1A000005
                                   4_0000022.jpg
(U//FOUO)                          089B-WF-3368293-
PXL_20210611_131650890.jpg         298_AFO_0000050_1A000005
                                   4_0000023.jpg


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      Case 1:21-cr-00444-JEB Document 28 Filed 09/13/21 Page 10 of 13




(U//FOUO)                           089B-WF-3368293-
PXL_20210611_130807217.jpg          298_AFO_0000050_1A000005
                                    4_0000024.jpg
(U//FOUO)                           089B-WF-3368293-
PXL_20210611_121311488.jpg          298_AFO_0000050_1A000005
                                    4_0000025.jpg
(U//FOUO)                           089B-WF-3368293-
PXL_20210611_131841744.jpg          298_AFO_0000050_1A000005
                                    4_0000026.jpg
(U//FOUO)                           089B-WF-3368293-
PXL_20210611_121653534.jpg          298_AFO_0000050_1A000005
                                    4_0000027.jpg
(U//FOUO)                           089B-WF-3368293-
PXL_20210611_121330111.jpg          298_AFO_0000050_1A000005
                                    4_0000028.jpg
(U//FOUO)                           089B-WF-3368293-
PXL_20210611_121509835.MP.jpg       298_AFO_0000050_1A000005
                                    4_0000029.jpg
(U//FOUO)                           089B-WF-3368293-
PXL_20210611_130831531.jpg          298_AFO_0000050_1A000005
                                    4_0000030.jpg
(U//FOUO)                           089B-WF-3368293-
PXL_20210611_121623909.jpg          298_AFO_0000050_1A000005
                                    4_0000031.jpg
(U//FOUO)                           089B-WF-3368293-
PXL_20210611_130019708.jpg          298_AFO_0000050_1A000005
                                    4_0000032.jpg
(U//FOUO)                           089B-WF-3368293-
PXL_20210611_122547573.jpg          298_AFO_0000050_1A000005
                                    4_0000033.jpg
(U//FOUO)                           089B-WF-3368293-
PXL_20210611_121208772.jpg          298_AFO_0000050_1A000005
                                    4_0000034.jpg
(U//FOUO)                           089B-WF-3368293-
PXL_20210611_122415247.jpg          298_AFO_0000050_1A000005
                                    4_0000035.jpg
(U//FOUO)                           089B-WF-3368293-
PXL_20210611_121236146.MP.jpg       298_AFO_0000050_1A000005
                                    4_0000036.jpg
(U//FOUO)                           089B-WF-3368293-
PXL_20210611_124756910.jpg          298_AFO_0000050_1A000005
                                    4_0000037.jpg


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(U//FOUO)                           089B-WF-3368293-
PXL_20210611_122506629.jpg          298_AFO_0000050_1A000005
                                    4_0000038.jpg
(U//FOUO)                           089B-WF-3368293-
PXL_20210611_130941591.MP.jpg       298_AFO_0000050_1A000005
                                    4_0000039.jpg
(U//FOUO)                           089B-WF-3368293-
PXL_20210611_121323244.jpg          298_AFO_0000050_1A000005
                                    4_0000040.jpg
(U//FOUO)                           089B-WF-3368293-
PXL_20210611_132026136.jpg          298_AFO_0000050_1A000005
                                    4_0000041.jpg
(U//FOUO)                           089B-WF-3368293-
PXL_20210611_125230819.jpg          298_AFO_0000050_1A000005
                                    4_0000042.jpg
(U//FOUO)                           089B-WF-3368293-
PXL_20210611_130851705.jpg          298_AFO_0000050_1A000005
                                    4_0000043.jpg
(U//FOUO)                           089B-WF-3368293-
PXL_20210611_122607957.jpg          298_AFO_0000050_1A000005
                                    4_0000044.jpg
(U//FOUO)                           089B-WF-3368293-
PXL_20210611_131057427.jpg          298_AFO_0000050_1A000005
                                    4_0000045.jpg
(U//FOUO)                           089B-WF-3368293-
PXL_20210611_122501297.jpg          298_AFO_0000050_1A000005
                                    4_0000046.jpg
(U//FOUO)                           089B-WF-3368293-
PXL_20210611_122220987.jpg          298_AFO_0000050_1A000005
                                    4_0000047.jpg
(U//FOUO)                           089B-WF-3368293-
PXL_20210611_121243182.jpg          298_AFO_0000050_1A000005
                                    4_0000048.jpg
(U//FOUO)                           089B-WF-3368293-
PXL_20210611_131032545.jpg          298_AFO_0000050_1A000005
                                    4_0000049.jpg
(U//FOUO)                           089B-WF-3368293-
PXL_20210611_121158256.jpg          298_AFO_0000050_1A000005
                                    4_0000050.jpg
(U//FOUO)                           089B-WF-3368293-
PXL_20210611_122804916.jpg          298_AFO_0000050_1A000005
                                    4_0000051.jpg


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(U//FOUO)                                 089B-WF-3368293-
PXL_20210611_121222111.jpg                298_AFO_0000050_1A000005
                                          4_0000052.jpg
(U//FOUO)                                 089B-WF-3368293-
PXL_20210611_121711662.jpg                298_AFO_0000050_1A000005
                                          4_0000053.jpg
(U//FOUO) MOCK 597s163608.pdf             089B-WF-3368293-
                                          298_AFO_0000050_1A000005
                                          4_0000054.pdf
(U//FOUO)                                 089B-WF-3368293-
PXL_20210611_131017495.jpg                298_AFO_0000050_1A000005
                                          4_0000055.jpg
(U//FOUO) MOCK Arrest                     089B-WF-3368293-
                                          298_AFO_0000051.pdf
(U//FOUO) MOCK AW114427.pdf               089B-WF-3368293-
                                          298_AFO_0000051_1A000005
                                          5_0000001.pdf
(U) [REDACTED] (6/11/2021 - 6/14/2021) 089B-WF-3368293-
                                          298_AFO_0000052.pdf
(U) 089B-WF-3368293-                      089B-WF-3368293-
298_AFO_0000052_1A0000056_0000001 298_AFO_0000052_1A000005
_PHYSICAL.pdf                             6_0000001_PHYSICAL.pdf
(U) Warrant Entry                         089B-WF-3368293-
                                          298_AFO_0000053.pdf
(U) Warrant Entry - Brian Christopher     089B-WF-3368293-
Mock.pdf                                  298_AFO_0000053_1A000005
                                          7_0000001.pdf
(U) Mock [REDACTED] (6/15/2021 to         089B-WF-3368293-
6/20/2021)                                298_AFO_0000054.pdf
(U) 089B-WF-3368293-                      089B-WF-3368293-
298_AFO_0000054_1A0000058_0000001 298_AFO_0000054_1A000005
_PHYSICAL.pdf                             8_0000001_PHYSICAL.pdf
(U) Request evidence items be sent to FBI 089B-WF-3368293-
Oakland Evidence Room                     298_AFO_0000055.pdf
(U) Document receipt of evidence item     089B-WF-3368293-
with cracked screen                       298_AFO_0000057.pdf


(U) Derivative evidence from 1B7       089B-WF-3368293-
(Samsung Galaxy S21).                  298_AFO_0000060.pdf
(U) MP SOG Surveillance Re Brian C.    089B-WF-3368293-
Mock                                   298_AFO_0000061.pdf
                                       11
        Case 1:21-cr-00444-JEB Document 28 Filed 09/13/21 Page 13 of 13




 (U) log 5-19-21105203.pdf                     089B-WF-3368293-
                                               298_AFO_0000061_1A000006
                                               1_0000001.pdf
 (U) MP SOG Surveillance Re Brian C.           089B-WF-3368293-
 Mock                                          298_AFO_0000062.pdf
 (U) log 5-25-21105734.pdf                     089B-WF-3368293-
                                               298_AFO_0000062_1A000006
                                               2_0000001.pdf

        On August 19, 2021, we also provided you with two body-camera videos, one 1:25:28 in
length and one 48:33 in length. On July 26, 2021, we provided you with copies of Mock’s
Facebook returns.

       Manner of Production. Please be sure to download the entire folder, including all
subfolders and files contained within the subfolders exactly as it was provided immediately
upon receipt to your own storage media. These materials will be automatically deleted in 60
days.

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

        Voluminous Materials. Due to the extraordinary nature of the January 6, 2021 Capitol
Attack, the government anticipates that a large volume of materials may result from our ongoing
investigations. These materials may include, but are not limited to, surveillance video, body
worn camera footage, statements of other defendants, forensic searches of electronic devices and
social media accounts of other defendants, and citizen tips. The government is working to
develop a system that will facilitate access to these materials, when appropriate. In the
meantime, please let me know of any specific information that you believe is particularly
relevant to your client.

        Protective Order. This material is subject to the terms of the Protective Order issued in
this case. The index above provides a designation for each document as Sensitive, Highly
Sensitive, or neither.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                    Sincerely,

                                                    s/Amanda Jawad
                                                    Amanda Jawad
                                                    Assistant United States Attorney



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